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 7 United States of America
 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,                              CASE NO. 2:17-CR-00207 MCE

12                                 Plaintiff,             STIPULATION AND ORDER TO CONTINUE
                                                          JUDGMENT AND SENTENCING HEARING
13                           v.

14 DONALD FREEMAN, JR., et al.,
15                                 Defendants.

16
17          Plaintiff United States of America, by and through its attorney of record, Assistant United States

18 Attorneys Todd A. Pickles and Rosanne L. Rust, and defendant Donald Freeman, by and through his
19 counsel of record, hereby stipulate:
20          1.       By prior order, the matter is presently set for a judgment and sentencing hearing on June

21 14, 2018.
22          2.       By this stipulation, the parties jointly request that this Court continue the judgment and

23 sentencing hearing for defendant Donald Freeman until September 27, 2018 at 10:00 a.m.
24          3.       Because the defendant has pled guilty, the provisions of the Speedy Trial Act do not

25 apply to this request.
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      STIPULATION AND ORDER RE: CONTINUANCE OF             1
30    INITIAL APPEARANCE
              Case 2:17-cr-00207-KJM Document 32 Filed 06/15/18 Page 2 of 2


 1          IT IS SO STIPULATED AND REQUESTED.

 2   Dated: June 12, 2018                                  MCGREGOR W. SCOTT
                                                           United States Attorney
 3
                                                    By: /s/ Todd A. Pickles
 4                                                      TODD A. PICKLES
                                                        ROSANNE L. RUST
 5                                                      Assistant United States Attorneys
 6   Dated: June 12, 2018                           By: /s/ Todd A. Pickles for
                                                        DAVID GARLAND, Esq.
 7
                                                           Counsel for defendant Donald Freeman, Jr.
 8
 9
10                                                 ORDER

11          The Court hereby continues the judgment and sentencing hearing for defendant Donald Freeman

12 to September 27, 2018 at 10:00 a.m. All dates previously set for the preparation of the Presentence
13 Investigation Report and for the filing of documents with the Court are reset consistent with judgment
14 and hearing date of September 27, 2018.
15          IT IS SO ORDERED.

16 Dated: June 13, 2018
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      STIPULATION AND ORDER RE: CONTINUANCE OF         2
30    INITIAL APPEARANCE
